EXHIBIT “A”
From: John Reynolds <jreynolds@mctllp.com>
Sent: Wednesday, May 6, 2020 9:51 AM
To: Pamela Jager <Pamela.Jager@spsci.com>
Subject: FW: Bayou Steel Group - Steel & Pipe Supply Co.


[WARNING: EXTERNAL EMAIL] This email originated outside of the company. USE CAUTION WHEN REPLYING,
OPENING ATTACHMENTS, AND CLICKING LINKS.

[ADVERTENCIA: CORREO ELECTRÓNICO EXTERNO] Este correo electrónico se originó fuera de la empresa.
TENGA PRECAUCIÓN AL RESPONDER, ABRIR ACCESORIOS Y HACER CLIC EN LOS ENLACES.

Pamela:

I am sorry I attached the incorrect file to my previous email. Please disregard that. I was provided your
email address after speaking with a co-worker of yours. In furtherance of that call, attached are the
open invoices owed to Bayou Steel Group. The Debtor records indicate an open balance due in the
amount of $17,287.81. If you agree, please remit either a check made payable to “Bayou Steel
Group” and deliver to my attention at the address below or wire the funds in accordance with the
attached instructions. If you disagree, please provide an explanation including supporting
documentation for your position.

Thank you for your anticipated cooperation.


JACK REYNOLDS
Senior Accountant
Miller Coffey Tate LLP
1628 JFK Blvd., Suite 950, Philadelphia, PA 19103
Tel: 215-561-0950 ext. 35
Fax: 215-561-0330
jreynolds@mctllp.com
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  Account Statement                                                                                                                                    BAYOU STEEL GROUP
  40005635



  Bill To                                                                    From                                                                Remit To

 STEEL
 STEELSSPIRE
        PIPE SUPPLY                                                          Bayou Steel Group                                                   Bayou Steel Group
  PO Box 1688                                                                138 Highway 3217                                                    BD LaPlace
                                                                                                                                                    La Place LLC
  MANHATTAN KS 66505-1688                                                    LAPLACE LA 70068                                                    PO Box 843767
  USA                                                                        USA                                                                 DALLAS TX 75284-2756
                                                                                                                                                 USA

                                                    -
Account number                                                 Statement date                                          Currency

40005635                                                       01/13/2020                                              USD
                                                                                                                                                                              ■
Date                                invoice
                                    Invoice N°              ■■ilC&ifS'.i   Reference N° .              Description
                                                                                                       Description                     ■■■i   Due Date                                        Amount
10/04/2019          ••/xVU....-'-   93023846                               0093023846.                 Credit
                                                                                                       Creditmemo
                                                                                                              memo                            10/04/2019
                                                                                                                                              10/04/2019                              357,381.35-
                                                                                                                                                                                      357,381.35-
10/23/2019                          1400033757                             ACH
                                                                           ACH 10-23
                                                                               10-23                    Payment                               11/03/2019                               349.555.29
                                                                                                                                                                                       349,555.29
                                % i'      . -.r ■
10/28/2019                          1400033775                             ACH
                                                                           ACH 10-28-19
                                                                               10-28-19                 Payment                   ..          11/13/2019
                                                                                                                                              11/13/2019                                  1,291.50
10/28/2019                          1400033775                             ACH 10-28-19                Payment
                                                                                                       Payment                                11/13/2019                                  2,119.58
                                                                       !                         '   { r,?i-   •’4'.
11/12/2019                          90825939                               0081044090                  Invoice
                                                                                                        Invoice                               12/12/2019
                                                                                                                                              .12/12/2019                              . 11,643.59
                                                                                                                                                                                         11.643.59
                                             • -        •. v <V2y'i-y,c;
12/16/2019                          90827484                               0081045726
                                                                           0081045726                   Invoice                               01/15/2020                                  3.859.20
                                                                            . ..... .....   ^
                                                                                                                                                       • -/*'Y :?'■ 'r   '•* **
12/17/2019                          90827498                               0081045728
                                                                           0081045728                   Invoice                               01/16/2020                                  3,240.00
12/17/2019.                         90827507                               0081045727                   Invoice                               01/16/2020                                  2.960.00


                                          0-30                               31-60
                                                                             3,-60                    61-90                       91-120                             121 +
                                           Days                               Days                       Days                            Days                            Days      Total amount due
> ■         v.» ;.........
Products                            10,059.20                                                   364,609.96                   357,381.35-                                                 17,287.81




If you have any questions or comments, please correspond with :
Brian Verrette | Credit S Risk Manager | T .1.985.652.0331
                                           .1.985.652.03311| brian.verrette@bayousteel.com
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